Case 1:08-cr-00383 Document 75 Filed on 08/20/08 in TXSD Page 1of1

United States Distri
ePS 40 Southern Distriet oF rout
(Rev. 6/05) FILED
UNITED STATES DISTRICT COURT AUG 20 2008

NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFERD ENE Milby, Clerk of Court

TO: United States Department of State FROM: { SS. Patel Srruxees
Office of Passport Policy and Advisory Services O zg Hanuian ST.
2100 Pennsylvania Avenue, NW, 3% Floor GO art 1-B>
Washington, DC 20037 Stale 200! 479520
Brownsville, Te.
KI Original Notice CT] Notice of Disposition
Date: S- | G-0 3 Date:

 

 

 

 

By: Lag baer hoegn o— By:

Defendant: (Zones L Eseguel

  
    

Case Number: [i O8CR. 363

Place of Birth: Harkin ye A TY
G7ST
Notice of Court Order (Order Date: 4/1 g / Oo g )

The above-named defendant is not permitted to apply for the issuance of a passport during the
pendency of this action.

[_] The above-named defendant surrendered Passport Number
custody of the U.S. District Court on

Date of Birth:
SSN:

to the

 

 

 

NOTICE OF DISPOSITION

Thie above: case ha been dispotea of,

Ci The above order of the éouirt is no Tong in effect.
rR seh Jak, gsc Se 3 oe
Efi Ef Defendant Hiot convicted = ‘Document returned to defendant.

chi Beféndant not convicted — Document enclosed for further i investigation due to evidence that the
, document may have been issued in a false name.

ma Deféndant convicted — Document and copy of judgment enclosed.

Distribution:
Original to case file
Department of State

_- Béfendant (or representative)
Clerk of Court

 

 
